                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                     )     MATTICE/CARTER
                                              )
        v.                                    )     CASE NO. 1:09-CR-74
                                              )
 JEREMIAH JAMES WISE                          )


                                            ORDER

        On March 30, 2010, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant’s plea of guilty to Counts One,

 Two, and Three of the Four-Count Indictment in exchange for the undertakings made by the

 government in the written plea agreement; (b) the Court adjudicate Defendant guilty of the

 charges set forth in Counts One, Two, and Three of the Four-Count Indictment; (c) that a

 decision on whether to accept the plea agreement be deferred until sentencing; and (d) Defendant

 shall remain in custody pending sentencing in this matter (Doc. 64). Neither party filed an

 objection within the given fourteen days. After reviewing the record, the Court agrees with the

 magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and

 ADOPTS the magistrate judge’s report and recommendation pursuant to 28 U.S.C. § 636(b)(1)

 and ORDERS as follows:

        (1) Defendant’s plea of guilty to Counts One, Two, and Three of the Four-Count

 Indictment, in exchange for the undertakings made by the government in the written plea

 agreement, is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Counts One, Two,

 and Three of the Four-Count Indictment;




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       (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

       (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

 June 28, 2010, at 2:00 pm.

       SO ORDERED.

       ENTER:


                                                      /s/Harry S. Mattice, Jr.
                                                      HARRY S. MATTICE, JR.
                                                 UNITED STATES DISTRICT JUDGE




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